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uNiTED sTATEs oF ArviERch, WlDGi~ l §l~'»:€i..él>lii$
Plaintiff,
vs. cR. No. 96-20139-B

JOSE GUADALUPE VERA,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the government requested a continuance of the July 5, 2005 trial date due to the
defendant’s fugitive status.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav. Julv 25. 2005. at 9:30 a.m., in Courtroom 1, 1‘lth Floor of the
Federal Bui|ding, Nlemphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(1 )(A) and (B) because the defendant is either absent or unavailable and
his presence cannot be determined or obtained by due diligence

lT lS SO ORDERED this § da Of July, 2005.

 

 

J. D NIEL BREEN
ED STATES DlSTR|C JUDGE

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UNITED sTEATS DISTRICT COURT - WESTER DISITRCT 0 TNNESSEE

   

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This notice confirms a copy of the document docketed as number 278 in
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Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

